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ORDERED in the Southern District of Florida ony, lt, 2018
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Robert A. Mark, Judge
United States Bankruptcy Court
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
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RE: CASE NO.: 17-15507-BKC-RAM
IN RE: PROCEEDING UNDER CHAPTER 13
ANTHONY PEREZ
DEBTOR /

 

ORDER REINSTATING CHAPTER 13 CASE

This matter came to be heard on August 14, 2018, on the debtor's motion to reinstate case. The court, if applicable,
has entered an order reopening the case and the debtor has paid all required reopening fees. Based on the record, it is

Ordered as follows:

1. The motion is granted and this case is REINSTATED. Pursuant to 11 U.S.C. §362(c)(2)(B), the automatic stay
terminated on the date this case was dismissed and was not in effect from that date until the entry of this order.

2. The Trustee's Final Report, if any filed, is deemed withdrawn and the Order Discharging Trustee, if entered, is
deemed vacated.

3. If not previously filed, any and all documents required to be filed by the debtor(s) under 11 U.S.C. §521(a)(1),
Bankruptcy Rule 1007, and Local Rule 1007-1 shall be filed no later than 14 days after entry of this order.

 
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4, The following checked provision(s) also apply:

[ ] This case was dismissed prior to the conclusion of the meeting of creditors, under 11 U.S.C. §341. A new
§341 meeting of creditors and confirmation hearing shall be set and noticed to all parties of record by the Clerk of
Court. The notice shall also establish a new deadline to file a proof of claim and deadline to file a motion
objecting to discharge under §1328(f) or to file a complaint objecting to dischargeability of certain debts.

 

[ ] This case was dismissed after the §341 meeting of creditors was concluded but prior to or at the hearing on
confirmation. (If applicable) A further §341 meeting will be conducted at CLAUDE PEPPER FEDERAL
BUILDING, 51 SW FIRST AVENUE, ROOM 102, MIAMI, FL 33130. A new confirmation hearing is
scheduled for September 18, 2018, at 1:35 pm at UNITED STATES BANKRUPTCY COURT, C. CLYDE
ATKINS UNITED STATES COURTHOUSE, 301 NORTH MIAMI AVENUE, COURTROOM 4, MIAMI FL
33128. The deadline to file a motion objecting to discharge under §1328(f) or to file a complaint objecting to
dischargeability of certain debts, is . The deadline for filing claims (except for governmental units) is .
Previously filed claims need not be refiled.

 

[X] This case was dismissed after the §341 meeting of creditors was conducted and after the expiration of the
deadline to file a motion objecting to discharge under §1328(f) or to file a complaint objecting to dischargeability
of certain debts and the original deadline to file claims, but prior to or at the hearing on confirmation. No new
deadlines shall be reset. (If applicable) A further §341 meeting will be conducted at CLAUDE PEPPER
FEDERAL BUILDING, 51 SW FIRST AVENUE, ROOM 102, MIAMI, FL 33130. A new confirmation hearing
is scheduled for September 18, 2018, at 1:35 pm at UNITED STATES BANKRUPTCY COURT, C. CLYDE
ATKINS UNITED STATES COURTHOUSE, 301 NORTH MIAMI AVENUE, COURTROOM 4, MIAMI, FL
33128.

 

[ ] This case was dismissed after the §341 meeting of creditors and confirmation hearing and expiration of the
deadline to file a motion objecting to discharge under §1328(f) or to file a complaint objecting to dischargeability
of certain debts and the original claims bar date. No new §341 meeting, confirmation hearing, or deadlines shal!
be set, and the case shall proceed in the normal course under the confirmed plan.

[X] Ifthis box is checked, the following provision applies:

As a condition of reinstatement of this case and in order to provide protection of creditors’ vested interests, in the
event of conversion to another chapter or dismissal of this reinstated case prior to confirmation, all plan payments
held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured creditors as adequate
protection, and in trust for priority and administrative creditors. If this case is dismissed or converted, the Trustee
shall disburse all funds which were received prior to the order of conversion or dismissal and held in trust. The
disbursement shall be on a pro rata basis, less Trustee fees, to the secured, priority or administrative creditors
pursuant to the proposed Chapter 13 Plan which was filed at least one day prior to the last confirmation hearing
date. (see Local Rule 1017-2(F) and Interim Local Rule 1019-1(E), (F), (G), AND (H)).

HHH
Prepared By:

NANCY K. NEIDICH, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806

MIRAMAR, FL 33027-9806

Copies to:

All parties of record by the Clerk of Court.

 
